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                      EXHIBIT D
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From:               Kirstie A. Means
To:                 Nicole Austin; Spencer Durland; Meredith Vacca; Thomas R. Southard; John Lyle; Katelyn Popp
Cc:                 Hanft, Gideon A.; Firsenbaum, Ross; Perio, Ryanne; jbrudin@rudinlaw.com; James P. Blenk; Brian C. Mahoney;
                    buffalo 5 plaintiff counsel@list.wilmerhale.com; Jennifer C. Persico
Subject:            RE: Final Jury Instructions and Special Verdict Form
Date:               Monday, April 7, 2025 6:22:53 AM
Attachments:        image002.png
                    image003.png
                    image888427.png
                    County"s Redlines to Final Jury Charges.pdf


Good morning, Judge Vacca and Ms. Austin:

In advance of the charge conference, the County respectfully submits a redlined draft of the Court’s Final
Jury Charges, incorporating the County’s primary objections, in an effort to facilitate and streamline
discussion. Additionally, the County notes the following objections with respect to the Court’s Special
Verdict Sheet.

The County objects to Section I (Liability) on the grounds it: (i) fails to include a question relative to the
issue of favorability and (ii) conflates the analysis required under Monell into a single question (at both
questions 2 and 4). The County maintains, as was set forth in its proposed Verdict Sheet, that distinct
questions should be raised on each point, particularly since the Court’s Proposed Final Jury Charges
instruct the jury as to the issue of favorability and because the jury could find the existence of a custom,
policy or practice, but not find that it was the moving force behind the constitutional violations alleged in
this case.

As to Section II (Damages), the County objects and requests to add “if any” or something similar so as to
not instruct the jury that it must award compensatory damages. The County further seeks to add an
additional line relative to a potential award of nominal damages, consistent with the jury instructions and
to avoid confusion on this issue. The County proposes revising this section as follows:

        5. If you answered YES to either or both of Questions 2 and 4, please identify on the line below
           the total amount of compensatory damages that you find Mr. Walker is entitled to for the
           period beginning on June 13, 1977 (the date of Mr. Walker’s conviction) until the present (if
           you decide not to make an award as to this item, insert the word “None”):

               $ ________________________

               If you awarded no damages in Question 5, proceed to Question 6. If you awarded damages
               in Question 5, skip Question 6.

        6. State the amount you award Mr. Walker in nominal damages:

               $ ________________________

As to the damages questions pertaining to the Buffalo Police Department, the County objects and
requests to: (i) add the names of the relevant employees of the Buffalo Police Department, (ii) reference
both compensatory and nominal damages and (iii) revise “also contributed” to “caused or contributed to”
as follows:

        Do you find that the Defendant, the County of Erie, has demonstrated by a preponderance of the
        evidence that the Buffalo Police Department, including its employees, Michael E. Guadagno,
        John Montondo, James E. Hunter, Robert Grabowski, Robert F. Arnet, Frank C. Deubell, Leo J.
        Donovan, Francis M. Manista, Jr., Paul R. Delano (collectively, the Buffalo Police Department),
        caused or contributed to Mr. Walker’s damages?
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Western District of New York
Kenneth B. Keating Federal Building
100 State Street, Rochester, NY 14614
O: 585-613-4374 | FAX: 716-613-4375
www.nywd.uscourts.gov

From: Kirstie A. Means <kmeans@lippes.com>
Sent: Sunday, April 6, 2025 5:58 PM
To: Spencer Durland <sdurland@hooverdurland.com>; Meredith Vacca
<Meredith_Vacca@nywd.uscourts.gov>; Thomas R. Southard <tsouthard@lippes.com>; Nicole
Austin <Nicole_Austin@nywd.uscourts.gov>; John Lyle <John_Lyle@nywd.uscourts.gov>; Katelyn
Popp <Katelyn_Popp@nywd.uscourts.gov>
Cc: Hanft, Gideon A. <Gideon.Hanft@wilmerhale.com>; Firsenbaum, Ross
<Ross.Firsenbaum@wilmerhale.com>; Perio, Ryanne <Ryanne.Perio@wilmerhale.com>;
jbrudin@rudinlaw.com; James P. Blenk <jblenk@lippes.com>; Brian C. Mahoney
<bmahoney@lippes.com>; buffalo_5_plaintiff_counsel@list.wilmerhale.com; Jennifer C. Persico
<jpersico@lippes.com>
Subject: RE: DX 707 and DX 697

    CAUTION - EXTERNAL:




Dear Judge Vacca:

Attached please find a copy of the County’s response and objections to Plaintiff’s Supplemental Requests
to Charge, filed moments ago at Docket 357.

Respectfully submitted,
Kirstie Means


Kirstie A. Means       ​




Partner
L pp s M th as L P




50 Fountain Plaza, Suite 1700
Buffalo, NY 14202‑2216

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From: Spencer Durland <sdurland@hooverdurland.com>
Sent: Sunday, April 6, 2025 10:28 AM
To: Meredith Vacca <Meredith_Vacca@nywd.uscourts.gov>; Thomas R. Southard
<tsouthard@lippes.com>; Nicole Austin <Nicole_Austin@nywd.uscourts.gov>; John Lyle
<John_Lyle@nywd.uscourts.gov>; Katelyn Popp <Katelyn_Popp@nywd.uscourts.gov>
Cc: Hanft, Gideon A. <Gideon.Hanft@wilmerhale.com>; Kirstie A. Means <kmeans@lippes.com>;
Firsenbaum, Ross <Ross.Firsenbaum@wilmerhale.com>; Perio, Ryanne
<Ryanne.Perio@wilmerhale.com>; jbrudin@rudinlaw.com; James P. Blenk <jblenk@lippes.com>;
Brian C. Mahoney <bmahoney@lippes.com>; buffalo_5_plaintiff_counsel@list.wilmerhale.com;
Jennifer C. Persico <jpersico@lippes.com>
Subject: RE: DX 707 and DX 697



Dear Judge Vacca,

We have received your message and will confer with opposing counsel about a list of admitted
exhibits. Attached please find Plaintiff’s Supplemental Requests to Charge, filed on the docket
just now.

Respectfully submitted,

Spencer L. Durland

From: Meredith Vacca <Meredith_Vacca@nywd.uscourts.gov>
Sent: Sunday, April 6, 2025 9:00 AM
To: Thomas R. Southard <tsouthard@lippes.com>; Nicole Austin
<Nicole_Austin@nywd.uscourts.gov>; John Lyle <John_Lyle@nywd.uscourts.gov>; Katelyn Popp
<Katelyn_Popp@nywd.uscourts.gov>
Cc: Hanft, Gideon A. <Gideon.Hanft@wilmerhale.com>; Kirstie A. Means <kmeans@lippes.com>;
Spencer Durland <sdurland@hooverdurland.com>; Firsenbaum, Ross
<Ross.Firsenbaum@wilmerhale.com>; Perio, Ryanne <Ryanne.Perio@wilmerhale.com>;
jbrudin@rudinlaw.com; James P. Blenk <jblenk@lippes.com>; Brian C. Mahoney
<bmahoney@lippes.com>; buffalo_5_plaintiff_counsel@list.wilmerhale.com; Jennifer C. Persico
<jpersico@lippes.com>
Subject: Re: DX 707 and DX 697


Counsel:

I will get you the proposed verdict sheet and final instructions later today. A few things I
wanted to bring up now.
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If counsel can please come up with a mutually agreeable list of exhibits that can be sent
back to the jury during deliberations when requested in a note. Please bring to court
tomorrow morning. If such an exhibit is requested by the jury, we would send it back
without reconvening and put it on the record the next time we meet in court.

I will not be allowing Plaintiff to recommend a certain dollar figure or range in their
summation. We will put this on the record tomorrow morning.

Also, heads up for tomorrow morning. We have Grand Jury empanelment which means
that there will be a lot of people going through the magnetometers starting at 8 am. I am
told it will probably take an hour for everyone to go through.

Thank you!



Get Outlook for iOS

From: Thomas R. Southard <tsouthard@lippes.com>
Sent: Friday, April 4, 2025 9:51:48 AM
To: Nicole Austin <Nicole_Austin@nywd.uscourts.gov>; John Lyle <John_Lyle@nywd.uscourts.gov>;
Katelyn Popp <Katelyn_Popp@nywd.uscourts.gov>; Meredith Vacca
<Meredith_Vacca@nywd.uscourts.gov>
Cc: Hanft, Gideon A. <Gideon.Hanft@wilmerhale.com>; Kirstie A. Means <kmeans@lippes.com>;
Spencer Durland <sdurland@hooverdurland.com>; Firsenbaum, Ross
<Ross.Firsenbaum@wilmerhale.com>; Perio, Ryanne <Ryanne.Perio@wilmerhale.com>;
jbrudin@rudinlaw.com <jbrudin@rudinlaw.com>; James P. Blenk <jblenk@lippes.com>; Brian C.
Mahoney <bmahoney@lippes.com>; buffalo_5_plaintiff_counsel@list.wilmerhale.com
<buffalo_5_plaintiff_counsel@list.wilmerhale.com>; Jennifer C. Persico <jpersico@lippes.com>
Subject: DX 707 and DX 697

CAUTION - EXTERNAL:


Dear Judge Vacca,

Please see the below link to a share drive that contains DX 707 (Guadagno Deposition
Transcript) and DX 697 (Cosgrove Deposition Transcript) highlighted for the County’s
deposition designations and Plaintiff’s counter designations that were received in evidence on
April 3.
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                                 FINAL JURY INSTRUCTIONS

I.      General Instructions

        Members of the jury, following summations, it now becomes my duty to instruct you as to

the law applicable to this case. Before doing so, I would like to commend all of you for your

patience and attention during the course of this trial. I would also like to commend the attorneys

for the very able manner in which each has carried out their responsibility as an advocate. You

have now received all the evidence that is to be presented in this case, and through the attorneys’

closing arguments or summations, you have learned the conclusions which each side believes

should be drawn from this evidence. It is now very important that you listen carefully to my final

instructions to you.

        A lawsuit is a civilized method of determining differences between parties. It is basic to

the administration of any system of justice that the determination on both the law and facts be

made fairly and honestly. You as the jury and I as the Judge, therefore, have a very important

responsibility – to ensure that a just result is reached in the determination of the differences

between the Plaintiff and the Defendant in this case.

        We have now arrived at that phase of your work where you will be instructed on the law

and then retire to the jury room for your final deliberations. You will find that my instructions are

divided into two main parts: first, a general statement of the law applicable to all jury trials in civil

cases; and then second, a statement of the law that is applicable to this particular case.

        During their summations, the attorneys suggested to you certain inferences and conclusions

that you might reasonably and logically draw from the evidence. The summations of the attorneys

are, of course, not evidence. However, if the arguments of the parties strike you as reasonable and



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logical and supported by the evidence, you may, if you so conclude, adopt them. On the other

hand, if you find such arguments to be unreasonable or illogical or unsupported by the evidence,

you may, if you so conclude, reject them. In the last analysis, it is your function as the jury to

draw your own inferences and conclusions from the evidence, as you recollect the evidence, and

as you find such evidence credible and believable.

       Keep in mind that you, as the jury, are the sole and exclusive judge of the facts. It is your

duty to decide each and every issue of fact which has arisen during the course of the trial. No

one, not the attorneys, nor the Court, may presume to tell you how the issues of fact should be

decided. I repeat that you and you alone, are the sole and exclusive judge of the facts. I am the

sole and exclusive judge of the law. These responsibilities are separate and distinct, and each is

of equal importance. As the judge of the law, it has been my function to regulate the course of the

trial and to determine what evidence, under the law, was admissible. My rulings in each instance

were based solely upon the law. My other function is, of course, to instruct you on the law

specifically applicable to this case.

       As I have stated before, my instructions to you on the law must be accepted by you whether

you agree with them or not. If you have any ideas of your own of what the law is, or what you

think it should be, it is now your duty, pursuant to the oath you took as jurors, to disregard your

own ideas of the law, and to accept the law exactly as I give it to you. Please remember that all of

us are all bound by the laws of our Country exactly as those laws provide.

       I may during these instructions by the level of my voice or by intonation seem to emphasize

certain matters. That is simply to help you understand the important principles of law. It is not

intended to communicate any opinion about the facts.




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       During these instructions, I will not review or summarize the evidence. If necessary, I may

refer to particular evidence to explain the law that relates to that evidence. My reference to the

evidence, or my failure to refer to evidence, expresses no opinion about the believability, accuracy,

or importance of any particular evidence.


       No matter how careful a judge may be to avoid it, there is always the possibility that a juror

may get an impression that the judge has some opinion with reference to whether the plaintiff is

liable or not liable, or that some particular witness is more believable than another, and so on.


       If you have formed any such impression, you must put it out of your mind and utterly

disregard it. Nothing I have said, or questions I may have asked of a witness, was intended to give

any such impression, and nothing I am about to say or how I say it is intended to give any such

impression.


       Similarly, if in the interest of advocacy, the attorneys have done or said anything which

you deem to be objectionable, you must not let such feeling interfere with your primary duty here,

which is to judge the facts impartially and to be fair to both the Plaintiff and the Defendant.

       It is the duty of the attorneys to offer evidence and press objections on behalf of their side.

It is my function to cut off counsel from an improper line of argument or questioning, to strike

offending remarks, and to admonish counsel when I think it is necessary. But you should draw no

inference against the attorney or the attorney’s client. It is irrelevant whether you like a lawyer or

whether you believe I like a lawyer.

       During the course of the trial, you may have heard some conversation between myself and

the lawyers at the bench. Bear in mind that such exchanges between myself and the lawyers did

not constitute evidence and, to the extent that you may have overheard anything, it must be


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disregarded by you.

        At times during the trial, I sustained objections to questions asked without permitting the

witness to answer or, where an answer was made, instructed that it be stricken from the record and

that you disregard the answer. You may not draw any inference from an unanswered question, nor

may you consider testimony which has been stricken in reaching your decision. The law requires

that your decision be made solely upon the competent evidence before you. The items I have

excluded from your consideration were excluded because I determined that they were not

admissible.

        In reaching your verdict, you may consider only the testimony and exhibits received into

evidence. Certain things are not evidence and you may not consider them in deciding what the

facts are. I will list them for you:

        1.      Arguments and unsworn statements by the lawyers are not evidence. What the

                lawyers may have said in their closing arguments, just like what they said in

                opening statements, and at other times during the trial, was intended to help you

                interpret the evidence but it is not evidence. If the facts as you remember them

                differ from the way they have been stated in closing arguments, your memory of

                the evidence controls.

        2.      Questions and objections by the attorneys are not evidence. Evidence consists of a

                question and an answer, not just the question. As to objections, the attorneys have

                a duty to object when they believe a question is improper under the rules of

                evidence. You should not be influenced by the objection or by the way I ruled on

                it.

        3.      Testimony that has been excluded or stricken, or that you have been instructed to



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               disregard, is not evidence and must not be considered. In addition, if testimony or

               exhibits have been received only for a limited purpose, you must follow the limiting

               instructions I have given.

       4.      Anything you may have seen or heard when the court was not in session is not

               evidence. You are to decide the case solely on the evidence received at this trial.

               That means you may not consider or speculate on matters not in evidence or matters

               outside the case as it has been presented in this courtroom.

       I would remind you now that any notes that you have taken during this trial are only aids

to your memory. If your memory differs from your notes, you should rely on your memory and

not on the notes. The notes are not in evidence. If you have not taken notes, you should rely on

your independent recollection of the evidence and should not be unduly influenced by the notes of

other jurors. Notes are not entitled to any greater weight than the recollection or impression of

each juror about the testimony.

       Your verdict must be based solely upon the evidence developed at this trial, or the lack of

evidence. It would be improper for you to consider any personal feelings you may have about one

of the parties’ race, religion, national origin, gender, or age. It would be equally improper for you

to allow any feelings you might have about the nature of the claim against the Defendant to

influence you in any way. Sympathy must not play a role in any of your decision making. During

your deliberations you must remember the oath you each took to be a fair and impartial juror. The

system cannot work unless you reach your verdict through a fair and impartial consideration of the

evidence.

       You also must completely disregard any report which you may have read in the press,

watched on television, heard on the radio, or seen on the internet. It would be unfair to consider



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such reports, because they are not evidence, and the parties have no opportunity to contradict their

accuracy or otherwise explain them away. It would be a violation of your oath as jurors to allow

yourselves to be influenced in any manner by such publicity.

       I will now turn to the fundamental legal principles which are applicable to civil cases in

general. These basic principles are applicable to every civil trial conducted in all of the courts of

our country. I made reference to these principles in my preliminary instructions at the beginning

of the trial, but because of the importance of these principles, I am going to repeat and amplify my

instructions as to each of them.

       In a civil case, a plaintiff has the burden of proving the material allegations of the complaint

by a preponderance of the evidence. If after considering all of the testimony you are satisfied

that the Plaintiff has carried his burden on each essential point as to which he has the burden of

proof, then you must find for the Plaintiff on the claim under consideration.

       If after such consideration you find the testimony of both parties to be in balance or equally

probable, then the Plaintiff has failed to sustain his burden, and you must find for the Defendant.

       If upon consideration of all the facts, you find that the Plaintiff has failed to sustain the

burden cast upon him, then you should proceed no further, and your verdict must be for the

Defendant.

       The Plaintiff has the burden of proving every disputed element of a claim to you by a

preponderance of the evidence. What does “preponderance of the evidence” mean? To establish

a fact by a preponderance of the evidence means to prove that a fact is more likely true than not

true. A preponderance of the evidence means the greater weight of the evidence. It refers to the

quality and persuasiveness of the evidence, not to the number of witnesses or documents. In

determining whether a claim has been proved by a preponderance of the evidence, you may



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consider the relevant testimony of all witnesses, regardless of who may have called them, and all

the relevant exhibits received in evidence, regardless of who may have introduced them.

        If you find that the credible evidence on a given issue is evenly divided between the parties

– that it is equally probable that one side is right as it is that the other side is right – then you must

decide that issue against the Plaintiff. That is because the Plaintiff must prove more than simple

equality of evidence—the Plaintiff must prove the element at issue by a preponderance of the

evidence. On the other hand, the Plaintiff need prove no more than a preponderance. So long as

you find that the scales tip, however slightly, in favor of the Plaintiff—that what he claims is more

likely true than not true—then that element will have been proved by a preponderance of the

evidence.

        In that regard, you may have heard of proof beyond a reasonable doubt, which is the proper

standard of proof in a criminal trial. That requirement does not apply to a civil case such as this

and you should put it out of your mind.

        That concludes our discussion of the burden of proof applicable in civil cases. I will now

turn to your estimate of the credibility of each witness’s testimony and the weight to be accorded

to such testimony.

        As judges of the facts, you alone determine the truthfulness and accuracy of the testimony

of each witness. You must decide whether a witness told the truth and was accurate, or instead,

testified falsely or was mistaken. You must also decide what importance to give to the testimony

you accept as truthful and accurate. It is the quality of the testimony that is controlling, not the

number of witnesses who testify.

        There is no particular formula for evaluating the truthfulness and accuracy of another

person's statements or testimony. You bring to this process all of your varied experiences. In life,



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you frequently decide the truthfulness and accuracy of statements made to you by other people.

The same factors used to make those decisions, should be used in this case when evaluating the

testimony.

               Some of the factors that you may wish to consider in

evaluating the testimony of a witness are as follows:

               •   Did the witness have an opportunity to see or hear the events about which he

                   or she testified?

               •   Did the witness have the ability to recall those events accurately?

               •   Was the testimony of the witness plausible and likely to be true, or was it

                   implausible and not likely to be true?

               •   Did the manner in which the witness testified reflect upon the truthfulness of

                   that witness’s testimony?

               •   To what extent, if any, did the witness's background, training, education, or

                   experience affect the believability of that witness's testimony?

               •   What was the demeanor of the witness when testifying? Did the witness have

                   a conscious bias, hostility or some other attitude that affected the truthfulness

                   of the witness’s testimony?

               •   Did the witness show an “unconscious bias,” that is, a bias that the witness

                   may have even unknowingly acquired from stereotypes and attitudes about

                   people or groups of people, and if so, did that unconscious bias impact that

                   witness’s ability to be truthful and accurate.

               •   You may consider whether a witness had, or did not have, a motive to lie.




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               •   If a witness had a motive to lie, you may consider whether and to what extent,

                   if any, that motive affected the truthfulness of that witness’s testimony.

               •   If a witness did not have a motive to lie, you may consider that as well in

                   evaluating the witness’s truthfulness.

               •   You may consider whether a witness has any interest in the outcome of the

                   case, or instead, whether the witness has no such interest.

               •   You are not required to reject the testimony of an interested witness, or to

                   accept the testimony of a witness who has no interest in the outcome of the

                   case.

               •   You may, however, consider whether an interest in the outcome, or the lack of

                   such interest, affected the truthfulness of the witness's testimony.

   You may consider whether a witness made statements at this trial that are inconsistent with

each other.   You may also consider whether a witness made previous statements that are

inconsistent with his or her testimony at trial. You may consider whether a witness testified to a

fact here at trial that the witness omitted to state, at a prior time, when it would have been

reasonable and logical for the witness to have stated the fact. In determining whether it would

have been reasonable and logical for the witness to have stated the omitted fact, you may consider

whether the witness’ attention was called to the matter and whether the witness was specifically

asked about it. If a witness has made such inconsistent statements or omissions, you may consider

whether and to what extent they affect the truthfulness or accuracy of that witness’s testimony here

at this trial. The contents of a prior inconsistent statement are not proof of what happened. You

may use evidence of a prior inconsistent statement only to evaluate the truthfulness or accuracy of

the witness’s testimony here at trial.



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               •   You may consider whether a witness’s testimony is consistent with the
                   testimony of other witnesses or with other evidence in the case.
               •   If there were inconsistencies by or among witnesses, you may consider
                   whether they were significant inconsistencies related to important facts, or
                   instead were the kind of minor inconsistencies that one might expect given the
                   circumstances of this case.
       I permitted Mr. Hirsch, Mr. Zeidman, Dr. Drobb, and Mr. Gagan to express their opinions

about matters that are in issue. A witness may be permitted to testify to an opinion on those matters

about which they have special knowledge, skill, experience, and training. Such testimony is

presented to you on the theory that someone who is experienced and knowledgeable in the field

can assist you in understanding the evidence or in reaching an independent decision on the facts.

In weighing this opinion testimony, you may consider the witness’s qualifications, their opinions,

the reasons for testifying, as well as all of the other considerations that ordinarily apply when you

are deciding whether or not to believe a witness’s testimony. In addition, because they gave their

opinions, you should consider the soundness of each opinion, the reasons for the opinion, and the

witness’s motive, if any, for testifying. You may give the testimony of this witness such weight,

if any, that you think it deserves in light of all the evidence. You should not permit a witness’s

opinion testimony to be a substitute for your own reason, judgment, and common sense. You may

reject the testimony of any opinion witness in whole or in part, if you conclude the reasons given

in support of an opinion are unsound or, if you, for other reasons, do not believe the witness. The

determination of the facts in this case rests solely with you.

       In this case you also heard the testimony of police officers and/or former prosecutors. The

testimony of a witness should not be believed solely and simply because the witness was a police

officer or prosecutor. At the same time, a witness’s testimony should not be disbelieved solely and




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simply because the witness was a police officer or prosecutor. You must evaluate their testimony

in the same way you would evaluate the testimony of any other witness.

         As to the witnesses who testified, even if you find that the testimony given by any witness

was not contradicted by any other evidence in the case, such finding does not relieve you of your

duty and responsibility to evaluate the credibility of the witness and to make your own

determination of what weight, if any, that you will give such testimony.

         By the processes that I have just described, you as the sole and exclusive judge of the facts

will determine which of the witnesses you believe, what portion of their testimony you accept, and

what weight you will give it.

         Now, of course, facts must be proven by evidence. The evidence from which you are to

decide what the facts are consists of sworn testimony of witnesses, both on direct and cross-

examination and any re-direct and re-cross examination, regardless of who called the witness, the

exhibits that have been received into evidence, regardless of who introduced them, and any

stipulations between the parties. Keep in mind that the law does not require any party to call as a

witness every person who might have knowledge of the facts related to this trial. Similarly, the

law does not require any party to present as exhibits all papers and things mentioned during this

trial.

         As to evidence, there are two kinds: direct and circumstantial. Direct evidence is when a

witness testifies about something they know by virtue of their own senses – something they have

seen, felt, touched, or heard. Direct evidence may also be in the form of an exhibit when the fact

to be proved is its present existence or condition.




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        The other type of evidence is circumstantial evidence. This is evidence which tends to

prove a disputed fact by proof of other facts. There is a simple example of circumstantial evidence

which is often used in this courthouse.

        Assume that when you came into the courthouse this morning the sun was shining, and it

was a nice day. As you were sitting here, someone walked in with an umbrella which was dripping

wet. Then a few minutes later another person also entered with a wet umbrella. Now, you cannot

look outside of the courtroom, and you cannot see whether or not it is raining. So you have no

direct evidence of that fact. But on the combination of facts which I have asked you to assume, it

would be reasonable and logical for you to conclude that it had been raining.

        That is all there is to circumstantial evidence. You infer on the basis of reason and

experience and common sense from one established fact the existence or non-existence of some

other fact.

        Circumstantial evidence is of no less value than direct evidence, for it is a general rule that

the law makes no distinction between direct evidence and circumstantial evidence but simply

requires that your verdict must be based on a preponderance of all the evidence presented.

II.     Specific Instructions

        This completes my discussion of the general principles of law applicable to all civil trials.

Let us turn our attention to the definitions and rules applicable to each of the specific causes of

action that will be submitted to you for your final determination.

        Mr. Walker brings his claim under a federal civil rights law: Title 42 U.S.C. § 1983. This

law provides that any person or persons who, under the color of state law, deprives another of any

rights, privileges, or immunities secured by the United States Constitution and federal statutes,

shall be liable to the injured party.



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policy, practice, or custom of the Defendant must exist and be the moving force behind the Erie

County Assistant District Attorneys’ specific actions in this case to establish the County’s liability

to Mr. Walker.

       To establish a claim against the County based on an unconstitutional policy, practice, or

custom, Mr. Walker must prove that the County adopted such a policy through the deliberate

choice or acquiescence of a policymaker on behalf of the municipality. A policymaker is an official

or a body to whom the County has given final policymaking authority. The actions of that official

of body represent a decision by the County itself, and the county is responsible for them.

       I instruct you that the policymaker in this case is the Erie County District Attorney at the

time of Mr. Walker’s criminal investigation and prosecution – Mr. Edward Cosgrove.

       Mr. Walker must prove by a preponderance of the evidence that each alleged violation of

his constitutional rights was not an isolated incident but was part of a policy of the County of Erie

specific to the type of violation. This means that you must analyze policies of the County of Erie

separately with respect to each of the two types of Mr. Walker’s alleged constitutional violations

– Brady violation and summation misconduct.

       A policy need not be in writing or be labeled a “policy.” There need not be a formal

statement of policy. A policy may be inferred from the informal acts or omissions of the District

Attorney or his designees. This includes a situation where the District Attorney knew about the

improper actions or failure to act by other prosecutors in the Ere County District Attorney’s office

by virtue of his position and allowed them to continue.

Policies re. Brady Violation




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to compensate him for any injury proximately caused by the Defendant’s conduct. Again, an injury

is proximately caused by conduct when a reasonable person would regard it as a substantial factor

in bringing about such injury.

       Compensatory or actual damages seek to make a plaintiff whole – that is, to compensate

him for the damage suffered. Furthermore, compensatory damages are not limited merely to

expenses that a plaintiff may have sustained. A prevailing plaintiff is entitled to compensatory

damages both for the physical injury and pain and suffering that he has suffered because of a

defendant’s conduct.

       I remind you that you may award compensatory damages only for injuries that the Plaintiff

proves were proximately caused by the Defendant’s allegedly wrongful conduct. The damages

that you award must be fair and reasonable, neither inadequate nor excessive. You should not

award compensatory damages for speculative damages, but only for those injuries that the Plaintiff

has actually suffered or which he is reasonably likely to suffer in the future.

       In awarding compensatory damages, if you decide to award them, you must be guided by

dispassionate common sense. Computing damages may be difficult, but you must not let that

difficulty lead you to engage in arbitrary guesswork. On the other hand, the law does not require

a plaintiff to prove the amount of his losses with mathematical precision, but only with as much

definiteness and accuracy as the circumstances permit.

       In all instances, you are to use sound discretion in fixing an award of damages, drawing

reasonable inferences where you deem appropriate from the facts and circumstances in evidence.

       With respect to Plaintiff’s constitutional claim, if you return a verdict for the Plaintiff, but

find that the Plaintiff has failed to prove by a preponderance of the evidence that he suffered any




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compensatory damages, then you must return an award of damages in some nominal token amount,

not to exceed the sum of one dollar.

       Nominal damages must be awarded when a plaintiff has been deprived by a defendant of a

constitutional right but has suffered no actual damage as a natural consequence of that deprivation.

The mere fact that a constitutional deprivation occurred is an injury to the person entitled to enjoy

that right, even when no actual damages flow from the deprivation. Therefore, if you find that the

Plaintiff has suffered no injury as a result of the Defendant’s conduct other than the fact of a

constitutional deprivation, you must award nominal damages not to exceed one dollar.

       You may also award nominal damages if, upon a finding that some injury resulted from a

given unlawful act, you find that you are unable to compute monetary damages except by engaging

in pure speculation and guessing. You may not award both nominal and compensatory damages

to the Plaintiff; either he was measurably injured, in which case you must award compensatory

damages, or else he was not, in which case you may award nominal damages. Nominal damages

may not be awarded for more than a token sum.

       I would note that if you do consider the last question in the Damages section of the Verdict

Sheet that will be provided to you during your deliberations, you will be asked to assess whether

the Buffalo Police Department, including its employees, Michael E. Guadagno, John Montondo,

James E. Hunter, Robert Grabowski, Robert F. Arnet, Frank C. Deubell, Leo J. Donovan, Francis

M. Manista, Jr., Paul R. Delano, caused or contributed to Mr. Walker’s damages (collectively, the

Buffalo Police Department) caused or contributed to Mr. Walker’s alleged damages. Once you

have considered all the facts and circumstances, you will be asked to apportion fault for the total

damages that Mr. Walker suffered based on what you determine to be the relative culpable

conductfault, if any, of the County of Erie and the culpable conductand of the Buffalo Police



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Department. In your verdict, you will state the percentage of fault, if any, of the County of Erie

and the Buffalo Police Department, and the total of these percentages must add up to 100 percent.



IV.     Concluding Instructions

        I have now outlined for you the rules of law that apply to this case and the processes by

which you weigh the evidence and decide the facts. In a few minutes you will retire to the jury

room for your deliberations. In order for your deliberations to proceed in an orderly fashion, you

must have a foreperson, but of course, their vote is entitled to no greater weight than that of any

other juror. Mr. Kugler, you are the foreperson. Your responsibilities will be to make sure that

everyone has an opportunity to participate during deliberations, to communicate with the Court if

the jury has a question, to tell us when the jury has reached a verdict, and, of course, to announce

the verdict. If you need to communicate with me, that is, if you have a question or if you want to

indicate that you have a verdict, you need to do so in writing and sign the note.

        If, in the course of your deliberations, your recollection of any part of the testimony should

fail, or you should have any question about my instructions to you on the law, you have the right

to return to the courtroom for the purpose of having such testimony or instructions read to you. A

copy of my instructions is not sent back into the jury room. However, with respect to reading back

testimony, keep in mind that it takes just as long to read testimony back as it did for a witness to

testify in the first instance. For example, if it took a particular witness one hour to testify, then it

will take approximately one hour to read that witness’ testimony back. Therefore, if you desire

just a portion of the witness’ testimony, please indicate that, or else the entire testimony, both

direct and cross-examination, will be read. Also, if you request testimony, certain things need to

occur before it can be read back. First, our court reporter, must find the requested testimony in her



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notes. Second, we must all reassemble here in court before the testimony can be read to you. I’m

telling you this not to discourage you from requesting that testimony be read back if you have a

question, but rather to explain that it will take a period of time to comply with your request.

       In deciding the case, you may consider only the exhibits which have been admitted into

evidence, the testimony of the witnesses as you have heard such testimony in this courtroom, and

any stipulations between the parties. As to the exhibits that were received into evidence, they will

be sent into the jury room.

       Your verdict must represent the considered judgment of each juror. In order to return a

verdict, it is necessary that each juror agree. Your verdict must be unanimous.

       Additionally, to assist you during your final deliberations, I have prepared a “verdict sheet”

which contains the list of questions that you will answer, after careful consideration of all the

evidence in accordance with my instructions. Each of the questions calls for a “yes or no” answer,

or some numerical figure. Please make sure you follow the directions indicated on the verdict

sheet carefully and consistent with the instructions provided. And again, your verdict must be

unanimous.

       As I mentioned, this verdict sheet contains the list of questions that you will answer, after

careful consideration of all the evidence in accordance with my instructions. Do not assume from

the questions or from their order what your answers should be. That is, of course, for you to decide.

When you have all agreed upon an answer, there will be just one verdict sheet back with you in

the jury deliberation room. When you all agree on an answer, Mr. Kugler should record the answer

in the space provided. When you reach a verdict, merely indicate on a note that you have done so.

Do not include the verdict sheet with your note and do not indicate in any way what the

verdict is. Mr. Kugler should retain possession of the verdict sheet until the verdict has been



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announced in court.

       Ms. Popp will bring a copy of the verdict sheet to the jury room when you retire for your

final deliberations. If, at any time during your deliberations, you have any questions concerning

your use of the verdict sheet and/or exhibit list, or any questions concerning any of my instructions,

please feel free to send a note in writing, and we will respond as promptly as possible to your

inquiry. The note needs to be completed by Mr. Kugler, put in an envelope, sealed, and signed on

the seal with the date and time of the note.

       Members of the jury, please remember at all times that you are not advocates for one side

or the other. Rather, you are judges—judges of the facts. Your sole interest is to seek the truth

from the evidence in this case. In reaching your verdict, you are not to be affected by sympathy,

bias, or prejudice. Nor must you let any personal feelings concerning the nature of the causes of

action alleged interfere with your decision-making process. Further, you must not be influenced

by what you might believe the reaction to your verdict will be, whether it will please or displease

anyone, be popular or unpopular, or indeed, any consideration outside the case as it has been

presented to you in this courtroom. You should consider only the evidence—both the testimony

and exhibits, find the facts from what you consider to be the believable evidence, and apply the

law as I have given it to you, to those facts. Your verdict will be determined by the conclusions

thus reached.

       Also, keep in mind that your function to reach a decision based on the evidence and the

law is a very important one. When you are in the jury room, listen to each other, and discuss the

evidence and issues in the case among yourselves. It is the duty of each of you, as jurors, to consult

with one another, and to deliberate with a view toward reaching agreement on a verdict, if you can

do so without violating your individual judgment and your conscience. While you should not



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surrender honest convictions of what the truth is and of the weight and effect of the evidence, and

while each of you must decide the case yourself and not merely consent to the decision of other

members of the jury, you should examine the issues and the evidence before you with candor and

frankness, and with proper respect and regard for the opinions of each other.

        Additionally, if somebody needs to take a break during the deliberations—for instance, a

bathroom break, that is fine, but deliberations must stop until the juror returns from the break. In

other words, you may only deliberate when all jurors are present together.

        Members of the jury, this case is obviously important to both the Plaintiff and to the

Defendant. Therefore, they and I rely upon you to give full and conscientious attention and

consideration to the issues and evidence before you. By doing so, you will carry out to the fullest

your oaths as jurors to truly try the issues of this case and to render a true verdict.




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